           Case 1:19-vv-01848-UNJ Document 50 Filed 08/19/22 Page 1 of 7




         In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1848V
                                          UNPUBLISHED


    MARK THOMA,                                                 Chief Special Master Corcoran

                         Petitioner,                            Filed: July 14, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Brachial Neuritis
                                                                (Parsonage-Turner Syndrome);
                         Respondent.                            Phrenic Neuritis


Andrew Donald Downing, Downing, Allison & Jorgenson, Phoenix, AZ , for Petitioner.

Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On December 6, 2019, Mark Thoma filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered brachial neuritis (Parsonage-Turner
Syndrome) as a result of an influenza (“flu”) vaccine received on January 17, 2017.
Petition at 1, 3, 5; Stipulation, filed July 14, 2022, at ¶¶ 2-4. Petitioner further alleges that
the vaccine was administered in the United States, he experienced the residual effects of
his injury for more than six months, and there has been no prior award or settlement of a
civil action for damages on his behalf as a result of his condition. Petition at ¶¶ 4, 15;
Stipulation at ¶¶ 3-5; Ex. 4 at 86. “Respondent denies that the flu vaccine caused
petitioner to develop brachial neuritis (Parsonage-Turner Syndrome) or phrenic neuritis,
and further denies that the flu vaccine caused petitioner to suffer from any other injury or
his current condition.” Stipulation at ¶ 6.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
          Case 1:19-vv-01848-UNJ Document 50 Filed 08/19/22 Page 2 of 7



       Nevertheless, on July 14, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $110,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
Case 1:19-vv-01848-UNJ Document 50 Filed 08/19/22 Page 3 of 7
Case 1:19-vv-01848-UNJ Document 50 Filed 08/19/22 Page 4 of 7
Case 1:19-vv-01848-UNJ Document 50 Filed 08/19/22 Page 5 of 7
Case 1:19-vv-01848-UNJ Document 50 Filed 08/19/22 Page 6 of 7
Case 1:19-vv-01848-UNJ Document 50 Filed 08/19/22 Page 7 of 7
